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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA OCT 26 2010

 

Richmond Division

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CLERK, U.S. DISTRICT COUR)

RICHMOND, VA
KIRK LEE LONEY,

Plaintiff,
Vv. Civil Action No. 3:08CV820
DOUGLAS L. WILDER, et al.,

Defendants.

MEMORANDUM OPINION

Kirk Lee Loney, a federal prisoner proceeding pro se and in
forma pauperis, filed this civil action. On August 20, 2010, the
Court dismissed this action because it appeared that Loney had
failed to comply with the Court’s Memorandum Order entered December
30, 2008. That Memorandum Order requires Loney to “immediately
advise the Court of his new address in the event that he is
transferred, released, or otherwise relocated while the action is
pending.” On July 19, 2010 and August 25, 2010, mail addressed to
Loney at P.O. Box 90043 was returned to the Court and marked as
“undeliverable.” Although Loney claims he “was never transferred
or relocated,” (Docket No. 49), his P.O. Box changed from 90043 to
1000. This change of address occurred some time between May 6,
2009 (Docket No. 16) and July 10, 2009 (Docket No. 20). On review,
it appears that Loney did not explicitly bring his new mailing
address to the Court’s attention. The Court nevertheless was able
to communicate with Loney because he changed his return address on

envelopes he sent to the Court.
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Federal Rule of Civil Procedure 59(e) permits a court to amend
a judgment within twenty-eight days for three reasons: “'‘(1) to
accommodate an intervening change in controlling law; (2) to
account for new evidence not available at trial; or (3) to correct
a clear error of law or prevent manifest injustice.’” EEOC v.
Lockheed Martin Corp., Aero & Naval Sys., 116 F.3d 110, 112 (4th
Cir. 1997) (quoting Hutchinson v. Staton, 994 F.2d 1076, 1081 (4th
Cir. 1993)). In other words, it is a means by which the district
court can correct its own mistakes, thereby “sparing the parties
and the appellate courts the burden of unnecessary appellate
proceedings.” Pac. Ins. Co. v. Am. Nat’l Fire Ins. Co., 148 F.3d
396, 403 (4th Cir. 1998) (internal quotations omitted).

In the interests of justice, the August 20, 2010 Memorandum
Opinion and Order (Docket Nos. 43, 44) will be VACATED. Loney’s
“Motion for Reinstatement of Action” (Docket No. 49) will be
GRANTED.

Loney must notify the Court explicitly if the address at which
he may be reached changes. FAILURE TO DO SO MAY RESULT IN

DISMISSAL OF THE ACTION.

An appropriate Order shall accompany this Memorandum Opinion.

/s/ ret

Robert E. Payne
Senior United States District Judge

Date: Of he 25,

Richmond, Virginia
